                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION


                                                         Action No: 5:17CV97
   John Doe 4                                            Date: 12/11/2018
   vs.                                                   Judge: Elizabeth K. Dillon
                                                         Court Reporter: M Butenschoen
   Shenandoah Valley Juvenile Center Commission
                                                         Deputy Clerk: B. Davis



   Plaintiff Attorneys                           Defendant Attorneys
   Hannah Lieberman                              Howard Johnson
   Theodore Howard                               Jason Botkins
   Tiffany Yang                                  Melisa Michelsen
   Mirela Missova                                Meredith Haynes



  PROCEEDINGS:
  Hearing held to inform counsel of upcoming rulings. The Court discusses how the Bench Trial
  will proceed.




  Time in Court: 10:00AM – 10:15AM (15 min)




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